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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION




UNITED STATES OF AMERICA                                             PLAINTIFF


VS.                                4:07cr127-07 SWW


JEFFREY STENDER                                                      DEFENDANT(S)




                                  RECUSAL ORDER

       On January 29, 2007 (doc #292) attorney Mark Hampton was allowed to enter

his appearance as co-counsel for defendant Stender. Mr. Hampton is on Judge

Forster’s recusal list. Accordingly, Judge Forster is unable to address any further issue

regarding defendant Jeffrey Stender.

       Dated this 5th day of February, 2008.



                                           AT THE DIRECTION OF THE COURT
                                              James W. McCormack, Clerk


                                           by      /s/ Cecilia Norwood
                                                    Deputy Clerk



cc: Judge Wright
    Sandy Carpenter
